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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


  BRISCO DE'QOUNTERRIO SUTTON
  #427894,

        Plaintiff,                                   Case No. 1:22-cv-961

  v.                                                 HONORABLE PAUL L. MALONEY

  UNKNOWN CONNER, et al.,

        Defendants.
  ____________________________/


                                         JUDGMENT

       In accordance with the Order entered on this date:

       IT IS HEREBY ORDERED that Judgment is entered.



 Dated: December 31, 2024                                   /s/ Paul L. Maloney
                                                            Paul L. Maloney
                                                            United States District Judge
